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                            IN UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:16-cv-00633

Stacey Durocher,

        Plaintiff/Movant,
v.

Westlake Financial,

        Defendant.


            REQUEST FOR ENTRY OF DEFAULT AGAINST DEFENDANT
                          WESTLAKE FINANCIAL


       Plaintiff, Stacey Durocher (“hereinafter “Plaintiff”), by and through Plaintiff’s counsel,

hereby requests the Clerk of the Court enter default against Defendant Westlake Financial

pursuant to Rule 55(a) of the Federal Rules of Civil Procedure (“FRCP”) on the grounds that

Defendant has failed to answer this matter’s Complaint and has failed to appear to otherwise

defend this action. Declaration of Jenny DeFrancisco ¶4.

       Plaintiff served the Defendant with a summons and complaint on April 12, 2016, as

evidenced by the proof of service on file with this Court. Id. ¶ 3. The Court has not granted

Defendant extension of time to respond to the Complaint. Id. ¶ 4. On information and belief, the

Defendant is neither an infant nor an incompetent person nor in the military service. Id. ¶¶ 5-6.

Dated: May 12, 2016
                                              Respectfully submitted,
                                               By: __/s/ Jenny DeFrancisco_________
                                              Jenny DeFrancisco, Esq.
                                              CT Bar No.: 432383
                                              LEMBERG LAW LLC
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                                              Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 12, 2016, a true and correct copy of the foregoing Request
for Entry of Default was served electronically by the U.S. District Court for the District of
Colorado Electronic Document Filing System (ECF) and that the document is available on the
ECF system.


                                             By/s/ Jenny DeFrancisco
                                             Jenny DeFrancisco, Esq.
